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                WAL-MART STORES, INC.
            7

            8                   UNITED STATES DISTRICT COURT
            9                  CENTRAL DISTRICT OF CALIFORNIA
        10

        11      SHIRLEY BAZURTO, an Individual, CASE NO.: 2:18-cv-09641 JFW (PLAx)
        12                     Plaintiff,
                                                JOINT STIPULATION FOR
        13      v.                              DISMISSAL
        14      WAL-MART STORES, INC., and      [FRCP 41]
                DOES 1 to 50 Inclusive,
        15
                               Defendants.      Courtroom: 7A
        16                                      District Judge: John F. Walter
                                                Magistrate Judge: Paul L. Abrams
        17                                      Complaint Filed: April 11, 2018
                                                Trial Date: October 1, 2019
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                                                     JOINT STIPULATION FOR DISMISSAL
                                                    CASE NO. 2:18-cv-09641 JFW (PLAx)
     Case 2:18-cv-09641-JFW-PLA Document 20 Filed 08/26/19 Page 2 of 3 Page ID #:318




                        Plaintiff SHIRLEY BAZURTO and Defendant WAL-MART STORES,
              2   INC. , by and through their designated counsel, hereby stipulate to the voluntary
              3   dismissal with prejudice of the entire action in this case. These dismissals are made
              4   pursuant to Federal Rule of Civil Procedure 4l(a)(l )(A)(ii). The pa1iies have
              5   reached a confidential resolution of their disputes.
              6         IT IS SO STIPULATED.
              7
              8

              9   Dated: Aprig2, 2019       By:
             10
             11
             12
             13                             PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
             14
             15          xxxxxxxxxxxxx
                  Dated: April_,   2019     By:    s/ Rebecca N. Herman
                         August 26, 2019           Andrew 0. Smith, Esq.
             16                                    Rebecca N. Herman, Esq .
                                                   Attomexs for Defendant
             17                                    WAL-MART STORES, INC.
                                                   aosmith Ci ettitkohn.com
             18                                               ett1t o n.com
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235 4-R952                                                  2
                                                                 JO TNT STIPULATION FOR_DJSMISSAl
                                                                CASE NO. 2: I 8-cv-09641 JFW (PLAx )
     Case 2:18-cv-09641-JFW-PLA Document 20 Filed 08/26/19 Page 3 of 3 Page ID #:319



            1                            CERTIFICATE OF SERVICE
            2         I hereby certify that the following document(s):
            3               JOINT STIPULATION FOR DISMISSAL [FRCP 41]
            4   was/were served on this date to counsel of record:
            5         [ ]    BY MAIL: By placing a copy of the same in the United States Mail,
                             postage prepaid, and sent to their last known address(es) listed below.
            6
                      [ ]    BY E-MAIL DELIVERY: Based on an agreement of the parties to
            7                accept service by e-mail or electronic transmission, I sent the above
                             document(s) to the person(s) at the e-mail address(es) listed below. I
            8                did not receive, within a reasonable amount of time after the
                             transmission, any electronic message or other indication that the
            9                transmission was unsuccessful.
        10            [ ]    BY ELECTRONIC TRANSMISSION: I electronically filed the
                             above document(s) with the Clerk of the Court using the CM/ECF
        11                   system. The CM/ECF system will send notification of this filing to the
                             person(s) listed below.
        12
                Bryan Zaverl, Esq.
        13      VAZIRI LAW GROUP
                5757 Wilshire Boulevard, Suite 670
        14      Los Angeles, CA 90036
                Tel: (310) 777-7540
        15      Fax: (310) 777-0373
                Email: bzaverl@vazirilaw.com
        16      Attorneys for Plaintiff
                SHIRLEY BAZURTO
        17
                      Executed on August 26, 2019, at San Diego, California.
        18

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        20                                             Natalia Aguilera
        21

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                                                              JOINT STIPULATION FOR DISMISSAL
                                                             CASE NO. 2:18-cv-09641 JFW (PLAx)
